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 6 United States of America

 7

 8                            IN THE UNITED STATES DISTRICT COURT

 9                               EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                             CASE NO. 1:15-cr-00286-DAD-BAM
12                                Plaintiff,               STIPULATION REGARDING
                                                           CONTINUANCE; ORDER
13                 v.
14   ZAID ELODAT,
15                                Defendant.
16

17                                             STIPULATION
18
            Plaintiff United States of America, by and through its counsel of record, and defendant, by
19
20 and through his counsel of record, hereby stipulate as follows:

21          1.     By previous order, this matter was set for sentencing on Monday, September 21,

22                 2020, at 10:00 a.m.
23          2.     By this stipulation, the parties now move to continue the matter to Monday,
24
                   December 14, 2020, at 10:00 a.m., to accommodate defense counsel’s request to be
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                   present with his client in court for sentencing.
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            3.     The parties further stipulate to the following schedule:
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28          Informal Objections Due:                                           November 16, 2020
                                                       1
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         Case 1:15-cr-00286-ADA-BAM Document 550 Filed 08/17/20 Page 2 of 2


          Final PSR Filed with the Court:                               November 23, 2020
 1
          Formal Objections to PSR/Sentencing Memo due:                 November 30 2020
 2

 3        Responses to Formal Objections/Reply to Sentencing Memo:      December 14, 2020

 4        IT IS SO STIPULATED.
 5
     DATED:     August 14, 2020      Respectfully submitted,
 6
                                     McGREGOR W. SCOTT
 7                                   United States Attorney
 8
                                     /s/ Karen A. Escobar
 9                                   KAREN A. ESCOBAR
                                     Assistant United States Attorney
10

11 DATED:       August 14, 2020
12                                   /s/ Edward Robinson
                                     EDWARD ROBINSON
13                                   Counsel for Defendant
                                     Zaid Elodat
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15
                                            ORDER
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17 IT IS SO ORDERED.

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       Dated:   August 17, 2020
19                                              UNITED STATES DISTRICT JUDGE
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